                            NUMBER 13-19-00023-CR

                               COURT OF APPEALS

                      THIRTEENTH DISTRICT OF TEXAS

                         CORPUS CHRISTI - EDINBURG

MATTHEW DAVID LEAL,                                                          Appellant,

                                           v.

THE STATE OF TEXAS,                                                           Appellee.


                   On appeal from the 186th District Court
                         of Bexar County, Texas.



                                     ORDER
 Before Chief Justice Contreras and Justices Longoria and Hinojosa
                         Order Per Curiam

      Appellant, Matthew David Leal, has filed a notice of appeal with this Court from

his conviction in trial court cause number 2017CR10539. The trial court’s certification of

the defendant’s right to appeal shows that the defendant does not have the right to

appeal.   See TEX. R. APP. P. 25.2(a)(2). The Texas Rules of Appellate Procedure

provide that an appeal must be dismissed if a certification showing that a defendant has

a right of appeal is not made a part of the record. Id. R. 25.2(d); see id. R. 37.1, 44.3,
44.4. The purpose of the certification requirement is to efficiently sort appealable cases

from non-appealable cases so that appealable cases can “move through the system

unhindered while eliminating, at an early stage, the time and expense associated with

non-appealable cases.” Greenwell v. Ct. of Apps. for the Thirteenth Jud. Dist., 159

S.W.3d 645, 649 (Tex. Crim. App. 2005); see Hargesheimer v. State, 182 S.W.3d 906,

912 (Tex. Crim. App. 2006).

       Within thirty days of date of this notice, appellant’s lead appellate counsel, Hon.

Michael David Robbins, is hereby ORDERED to: 1) review the record; 2) determine

whether appellant has a right to appeal; and 3) forward to this Court, by letter, counsel’s

findings as to whether appellant has a right to appeal and/or advise this Court as to the

existence of any amended certification. If appellant’s counsel determines that appellant

has a right to appeal, counsel is further ORDERED to file a motion with this Court within

thirty days of this notice, identifying and explaining substantive reasons why appellant

has a right to appeal. See TEX. R. APP. P. 44.3, 44.4; Dears v. State, 154 S.W.3d 610,

614–15 (Tex. Crim. App. 2005); see also, e.g., Carroll v. State, 119 S.W.3d 838, 841
(Tex. App.—San Antonio 2003, no pet.) (certification form provided in appendix to

appellate rules may be modified to reflect that defendant has right of appeal under

circumstances not addressed by the form). The motion must include an analysis of the

applicable case law, and any factual allegations therein must be true and supported by

the record. See Dears, 154 S.W.3d at 614–15; cf. Woods v. State, 108 S.W.3d 314,

316 (Tex. Crim. App. 2003) (construing former appellate rule 25.2(b)(3) and holding that

recitations in the notice of appeal must be true and supported by the record). Copies of

record documents necessary to evaluate the alleged error in the certification affecting




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appellant’s right to appeal shall be attached to the motion. See TEX. R. APP. P. 10.1,

10.2.

                                                    PER CURIAM

Do not publish.
TEX. R. APP. P. 47.2(b).

Delivered and filed the
15th day of January 2019.




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